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  8                           UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10   CHAD EDWIN BRACKETT,                         )   Civil No. 13cv2724 JAH
                                                   )   Criminal No. 11cr2393 JAH
 11                       Petitioner,              )
      v.                                           )
 12                                                )   ORDER DENYING CERTIFICATE
      UNITED STATES OF AMERICA,                    )   OF APPEALABILITY
 13                                                )
                          Respondent.              )
 14                                                )
 15         On January 3, 2014, this Court denied Petitioner Chad Edwin Brackett’s
 16   (“petitioner”) amended motion to vacate his conviction for conspiracy to distribute
 17   methamphetamine in violation of 21 U.S.C. §§ 841 (a)(1) and 846. See Doc. # 193.
 18   Thereafter, on January 30, 2014, petitioner filed a notice of appeal and an application for
 19   a certificate of appealability. See Doc. # 196; Doc. # 197.
 20         A certificate of appealability is authorized “if the applicant has made a substantial
 21   showing of the denial of a constitutional right.” 28 U.S.C. § 2253 (c)(2). To meet this
 22   threshold showing, a petitioner must show that: (1) the issues are debatable among jurists
 23   of reason; (2) a court could resolve the issues in a different manner; or (3) the questions
 24   are adequate to deserve encouragement to proceed further. Lambright v. Stewart, 220
 25   F.3d 1022, 1024-25 (9th Cir. 2000)(citing Slack v. McDaniel, 529 U.S. 473 (2000) and
 26   Barefoot v. Estelle, 463 U.S. 880 (1983)).
 27         Petitioner seeks to appeal this Court’s order denying his motion pursuant to 28
 28   U.S.C. § 2255 motion. In his motion, petitioner argued his attorney was ineffective for


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  1   failing to challenge his classification and sentence as a career offender and for failing to
  2   challenge the drug amount upon which he was indicted. The Court determined that
  3   petitioner did not assert: (1) a claim of ineffective assistance of counsel challenging the
  4   voluntariness of his plea; (2) that the Court failed to satisfy the requirements under
  5   Federal Rule of Criminal Procedure 11 to ensure petitioner knowingly and voluntarily
  6   waived his right to directly or collaterally attack his judgment and sentence; and (3) that
  7   his sentence was not in accordance with the negotiated plea agreement or that his sentence
  8   violated the law.   The Court therefore concluded that petitioner’s challenge to his
  9   conviction was simply a collateral attack on his sentence that fell within the parameters
 10   of his waiver and no exception applied.
 11          Based on this Court’s review of the record, the Court finds no issues are debatable
 12   among jurists of reason and no issues could be resolved in a different manner. This Court
 13   further finds that no questions are adequate to deserve encouragement to proceed further.
 14          Accordingly, IT IS HEREBY ORDERED that petitioner is DENIED a certificate
 15   of appealability.
 16
 17   Dated: February 10, 2014
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 19                                                    JOHN A. HOUSTON
                                                       United States District Judge
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